                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                           Plaintiff,

             v.                                        Case No. 21-CR-89

BERDASHIA F. DAVIS,

                           Defendant.


 REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY


      The Honorable J.P. Stadtmueller referred this matter to this court for the purposes

of advising and questioning the defendant regarding a plea of guilty and for the

defendant to enter a plea of guilty pursuant to Federal Rule of Criminal Procedure 11. On

October 19, 2021, the parties appeared before this court. The defendant pled guilty to the

following counts of the superseding indictment: Counts 1, 3-4.

      After cautioning and examining the defendant under oath concerning each of the

subjects mentioned in Rule 11, I determined that the defendant’s pleas were knowing and

voluntary. I find that the offenses charged are supported by an independent factual basis

containing the essential elements of such offenses.




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       I therefore recommend that the pleas of guilty be accepted, that a pre-sentence

investigation be conducted and report prepared, that the defendant be adjudged guilty,

and that sentence be imposed accordingly.

       Your attention is directed to General L.R. 72(c), 28 U.S.C. § 636(b)(1)(B) and Federal

Rule of Criminal Procedure 59(b) whereby written objections to any recommendation

herein, or part thereof, may be filed within fourteen days of the date of service of this

recommendation. Objections are to be filed in accordance with the Eastern District of

Wisconsin’s electronic case filing procedures. Failure to file a timely objection with the

district court shall result in a waiver of a party’s right to appeal.

       Dated at Milwaukee, Wisconsin this 19th day of October, 2021.



                                                   _________________________
                                                   WILLIAM E. DUFFIN
                                                   U.S. Magistrate Judge




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